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                              UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF CALIFORNIA

Case No: 20-cr-00266-JST-1
Case Name: USA v. Rothenberg

                   MINUTE ORDER, TRIAL SHEET, EXHIBIT and WITNESS LIST

 JUDGE:                             PLAINTIFF ATTORNEY:                 DEFENSE ATTORNEY:
 Jon S. Tigar                       Kyle Waldinger                      Hanni Fakhoury
                                    Nicholas Walsh                      Nate Torres
                                    Benjamin Kleinman
 TRIAL DATE:                        REPORTER:                           CLERK:
 October 16, 2023                   Raynee Mercado                      Mauriona Lee
 TIME IN COURT:
 5 hours 37 minutes

 PLF    DEF DATE/TIME
 NO.    NO. OFFERED            ID     REC   DESCRIPTION                                           BY
            8:30 am                         Matters discussed outside of the presence of the
                                            jury.
                8:33 am        X      X     Exhibits certified by California Secretary of State
                                            read into record and admitted: 2, 3, 4, 12, 20, 25
                8:34 am        X      X     Exhibits certified by Federal Reserve Bank of New
                                            York read into record and admitted: 136, 137, 138,
                                            139, 140, 141, 142, 143, 144, 145, 146, 147, 148,
                                            606, 607
 285            8:35 am        X      X     Robinhood records regarding sale of Robinhood
                                            stock by 2013 fund to Thrive Capital Partners funds
 504            8:36 am        X      X     Suite experience group records.
                8:38 am                     Jury is present.
                8:40 am                     Witness Alexa Binns called for testimony and sworn.
                                            Direct examination by AUSA Kleinman begins.
 312            8:53 am        X      X     Rothenberg Ventures Fund I, Summary of Principle
                                            Terms, received by Binns
 313            8:54 am        X      X     Rothenberg Ventures Fund I, Confidential Private
                                            Offering Memorandum
 299            9:20 am        X      X     July 14 – 16, 2016 email chain involving Alexa
                                            Binns, Justin Grooms, and Mike Rothenberg re:
                                            “Subject: Re: Rothenberg Ventures 2016 Fund – Co-
                                            invest Opportunity”
 302            9:25 am        X      X     Rothenberg Ventures 2016 Fund Co-Fund Unity,
                                            LLC Summary of Principle Terms
                9:27 am                     Jury excused.
                9:28 am                     Court is in recess.
                9:46 am                     Court is reconvened. Jury is present.
                9:46am                      Direct examination of Witness Alexa Binns by
                                            AUSA Kleinman resumes.

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                                  Case No: 20-cr-00266-JST-1
                                 Case Name: USA v. Rothenberg
                                     Date: October 16, 2023
  Courtroom Deputy: Mauriona Lee         - Court Reporter:   Raynee Mercado

                         EXHIBIT and WITNESS LIST CONTINUED

PLF   DEF DATE/TIME
NO.   NO. OFFERED          ID     REC    DESCRIPTION                                            BY
301       9:50 am          X      X      Rothenberg Ventures 2016 Fund Co-Fund slide deck
                                         received by Binns, dated July 2016
308         10:09 am       X      X      November 23, 2016 email from Martin Mayo to
                                         Alexa Binns, James Binns, Mike Rothenberg and
                                         others with proposed side letter
            10:24 am                     Direct examination of Witness Alexa Binns by
                                         AUSA Kleinman ends.
            10:24 am                     Cross examination of Witness Alexa Binns by Mr.
                                         Fakhoury begins.
            10:47 am                     Sidebar begins.
            10:49 am                     Sidebar ends.
            10:56 am                     Jury excused.
            10:57 am                     Court is in recess.
            11:07 am                     Court is reconvened.
            11:09 am                     Jury is present.
            11:10 am                     Cross examination of Witness Alexa Binns by Mr.
                                         Fakhoury resumes.
            11:33 am                     Cross examination of Witness Alexa Binns by Mr.
                                         Fakhoury ends.
            11:33 am                     Redirect examination of Witness Alexa Binns by
                                         AUSA Kleinman begins.
            11:36 am                     Redirect examination of Witness Alexa Binns by
                                         AUSA Kleinman ends.
            11:36 am                     Re-cross examination of Witness Alexa Binns by
                                         Mr. Fakhoury begins.
            11:38 am                     Re-cross examination of Witness Alexa Binns by
                                         Mr. Fakhoury ends.
            11:38 am                     Witness excused.
            11:39 am                     Witness James Binns called for testimony and
                                         sworn. Direct examination by AUSA Kleinman
                                         begins.
            12:20 pm                     Direct examination of witness James Binns by
                                         AUSA Kleinman ends.
            12:21 pm                     Jury excused. Matters discussed outside the presence
                                         of the jury.
            12:24 pm                     Witness excused. Matters discussed outside the
                                         presence of the jury.
            12:26 pm                     Court is in recess.

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                                Case Name: USA v. Rothenberg
                                    Date: October 16, 2023
 Courtroom Deputy: Mauriona Lee         - Court Reporter:   Raynee Mercado

                        EXHIBIT and WITNESS LIST CONTINUED

PLF   DEF DATE/TIME
NO.   NO. OFFERED         ID     REC    DESCRIPTION                                               BY
          12:40 pm                      Court is reconvened. The jury is present.
           12:42 pm                     Direct examination of witness James Binns by
                                        AUSA Kleinman resumes.
           12:42 pm                     Direct examination of witness James Binns by
                                        AUSA Kleinman ends.
           12:42 pm                     Cross examination of Witness James Binns by Mr.
                                        Fakhoury begins.
           1:20 pm                      Cross examination of Witness James Binns by Mr.
                                        Fakhoury ends.
           1:20 pm                      Redirect examination of witness James Binns by
                                        AUSA Kleinman begins.
           1:22 pm                      Redirect examination of witness James Binns by
                                        AUSA Kleinman ends.
           1:22 pm                      Witness excused.
           1:23 pm                      Jury admonished and excused for the day.
           1:24 pm                      Matters discussed outside the presence of the jury.
           1:25 pm                      Argument heard from parties regarding Defendant’s
                                        Motion to Exclude Evidence re: International Trip to
                                        Mexico. Parties will meet and confer and continue
                                        discussions with the Court tomorrow.
           1:37 pm                      Court is in recess. Jury trial continued to October 17,
                                        2023 at 8:00 a.m. in courtroom 6, 2nd floor.




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